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                                    UNITED STATES DISTRICT COURT
                                                     FOR THE
                                    EASTERN DISTRICT OF LOUISIANA
                  ****************************************************************
                                     IN RE: HURRICANE IDA CLAIMS


             ORDER NO. 11 CERTIFYING CASES TO BE RETURNED TO THE DOCKET

            Pursuant to Sections 3.D and E of CMO No. 1. in this matter, the undersigned hereby

certifies that the parties in the cases listed below have complied with the requirements of the

Streamlined Settlement Program and have not resolved their respective cases. Accordingly, the

stay in these matters is hereby lifted and the Clerk is directed to return each case to the docket

of the presiding District Judge so that it can be set for a scheduling conference. The Clerk is

further directed to notify the case manager of each affected District Judge of this filing.



PLAINTIFF                               DEFENDANT                                       DOCKET NO.       JUDGE       MJ



B-3 Consulting LLC                      Scottsdale Insurance Company                     2:22-cv-04014   Lemelle     Roby
Henry and Lisa Arrington                Allied Trust Insurance Company                   2:22-cv-03842   Vance       North
Dianne Dupre                            Geo Vera Specialty Insurance Company             2:22-cv-04136   Vance       Meerveld
Furniture Mart LLC                      StarStone Specialty Insurance Company            2:22-cv-04489   Brown       Roby
LaFranka and Derrick Harvey             Garrison Property and Casualty Insurance Company 2:22-cv-04634   Guidry      North
Cheryl and Adam Barth                   QBE Specialty Insurance Company                  2:23-cv-00442   Barbier     Meerveld
Betty Williams                          State Farm Fire and Casualty Company             2:22-cv-05343   Fallon      Currault
Gary and Wendy Savelle                  State Farm Fire & Casualty Company               2:23-cv-00390   Guidry      Roby
Eric and Rahcel Eustis                  USAA Casualty Insurance Company                  2:23-cv-00188   Zainey      Currault
Peoples United Methodist Church         Church Mutual Insurance Company, S.I.            2:23-cv-00270   Barbier     Meerveld
Billy and Tammy Gason                   State Farm Fire & Casualty Company               2:23-cv-00278   Papillion   Roby
Sandra Duplantis                        Allstate Indemnity Company                       2:23-cv-00338   Lemelle     Currault
Karen and Damond Johnson Sr             State Farm Fire & Casualty Company               2:23-cv-00960   Brown       Meerveld
Bedford Group LLC                       Bankers Insurance Company                        2:23-cv-01103   Africk      Meerveld
Kathleen Koester and Kenneth Bopp       State Farm Fire & Casualty Company               2:23-cv-01218   Vance       Meerveld
Anita Robertson                         State Farm Fire & Casualty Company               2:23-cv-01380   Morgan      Currault
Janice Bracamontes                      Geo Vera Specialty Insurance Company             2:23-cv-01593   Fallon      Currault
Randolph and Mildred Butler             Allied Trust Insurance Company                   2:23-cv-01657   Ashe        Meerveld
Byblos Development LLC                  Safepoint Insurance Company                      2:23-cv-01713   Brown       North
Jane Tavlin                             State Farm Fire & Casualty Company               2:23-cv-01788   Barbier     Currault
Kisha Young                             Allstate Vehicle and Property Ins. Company       2:22-cv-3579    Barbier     Roby
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Signed this 23rd day of October 2023 in New Orleans, LA,




                                               MICHAEL B. NORTH
                                          UNITED STATES MAGISTRATE JUDGE
